 Case 2:18-cv-05741-DMG-PLA Document 185 Filed 08/19/19 Page 1 of 3 Page ID #:4874




 1                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 2
 3   LUCAS R. et al,                       ) Case No.: 2-18-CV-05741 DMG (PLA)
 4                                         )
                  Plaintiffs,              ) THE PARTIES’ SETTLEMENT
 5         v.                              ) STATUS REPORT
                                           )
 6   ALEX AZAR, Secretary of U.S. Dep’t )
 7   of Health and Human Services, et al., )
                                           )
 8                Defendants.              )
                                           )
 9                                         )
10
11         The parties respectfully submit this status report to the Court regarding our
12   progress in mediation to date. The parties participated in a mediation conference
13   with the Hon. Sheri Pym on Wednesday, June 12, from 9:30am through 4:00pm,
14   where we discussed and negotiated potential settlement terms for the “step-up” and
15   “unfit custodian” classes. The parties have exchanged multiple settlement
16   proposals, but at this time have not reached agreement on either class. The parties
17   are continuing to discuss a potential settlement in good faith, and intend to reach
18   out to Judge Pym’s chambers for another mediation conference in mid-September
19   to explore whether the parties can reach an agreement on the “step-up” and “legal
20   representation” classes.
21         The parties in Flores v. Barr, No. CV85-4544-DMG are discussing terms for
22   a nationwide settlement regulating the administration of psychotropic medications
23   to minors in ORR custody and are scheduled to meet with the Special
24   Master/Independent Monitor in early September. Those discussions may narrow or
25   resolve Plaintiffs’ instant claim on behalf of the “psychotropic medication” class.
26
     Dated: August 19, 2019
27
28
                                                                                           1

                                THE PARTIES’ SETTLEMENT STATUS REPORT
 Case 2:18-cv-05741-DMG-PLA Document 185 Filed 08/19/19 Page 2 of 3 Page ID #:4875




 1                                                  /s/ W. Daniel Shieh
 2   CARLOS HOLGUÍN (Cal. Bar No. 90754)            JOSEPH H. HUNT
     Center for Human Rights and Constitutional Law Assistant Attorney General
 3   256 South Occidental Blvd.                     United States Department of
     Los Angeles, CA 90057                          Justice
 4   Telephone: (213) 388-8693, ext. 309            Civil Division
 5   Facsimile: (213) 386-9484                      ERNESTO H. MOLINA, JR.
     email: crholguin@centerforhumanrights.org      Deputy Director
 6                                                  Office of Imm. Litigation
     HOLLY S. COOPER (Cal. Bar No. 197626)          W. DANIEL SHIEH
 7   Co-Director, Immigration Law Clinic            BENJAMIN MARK MOSS
 8   CARTER C. WHITE (Cal. Bar No. 164149)          Senior Litigation Counsel
     Director, Civil Rights Clinic                  MARINA C. STEVENSON
 9   University of California Davis School of Law   JONATHAN K. ROSS
10   One Shields Ave. TB 30                         Trial Attorney
     Davis, CA 95616                                P.O. Box 878
11   Telephone: (530) 754-4833                      Ben Franklin Station
     Email: hscooper@ucdavis.edu                    Washington, D.C. 20044
12   ccwhite@ucdavis.edu                            Telephone: (202) 305-9802
13                                                  Facsimile: (202) 305-1890
     LEECIA WELCH (Cal. Bar No. 208741)             Electronic mail:
14   NEHA DESAI (Cal. RLSA Bar No. 803161)          daniel.shieh@usdoj.gov
     POONAM JUNEJA (Cal. Bar No. 300848)            Attorneys for Defendants
15   National Center for Youth Law                   (official capacity only)
16   405 14th Street, 15th Floor
     Oakland, CA 94612
17   Telephone: (510) 835-8098
18   Email: lwelch@youthlaw.org
     ndesai@youthlaw.org
19   pjuneja@youthlaw.org
20   CRYSTAL ADAMS (Cal. Bar No. 308638)
21   National Center for Youth Law
     1313 L St. NW, Suite 130
22   Washington, DC 20005
     Telephone: (202) 868-4785
23   Email: cadams@youthlaw.org
24
     /s/ Jon F. Cieslak
25   SUMMER WYNN (Cal. Bar No. 240005)
26   MARY KATHRYN KELLEY (Cal. Bar No. 170259)
     JON F. CIESLAK (Cal. Bar No. 268951)
27   MEGAN L. DONOHUE (Cal. Bar No. 266147)
     Cooley LLP
28   4401 Eastgate Mall
                                                                                  2

                           THE PARTIES’ SETTLEMENT STATUS REPORT
 Case 2:18-cv-05741-DMG-PLA Document 185 Filed 08/19/19 Page 3 of 3 Page ID #:4876




 1   San Diego, CA 92121-1909
     Telephone: (858) 550-6000
 2   Email: swynn@cooley.com
 3   mkkelley@cooley.com
     jcieslak@cooley.com
 4   mdonohue@cooley.com
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                              3

                          THE PARTIES’ SETTLEMENT STATUS REPORT
